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                                                STATES BANKRUPTCY      6
                                                                    COURT
                                            NORTHERN DISTRICT OF GEORGIA
                                                  ATLANTA DIVISION

In re Shari Lakia Arnold                                                          Case No.
                                                                                  Chapter 13
                                                     CHAPTER 13 PLAN

Extension                                                                   Composition

You should read this Plan carefully and discuss it with your attorney. Confirmation of this Plan by the Bankruptcy
Court may modify your rights by providing for payment of less than the full amount of your claim, by setting the
value of the collateral securing your claim, and/or by setting the interest rate on your claim.

Debtor or Debtors (hereinafter called "Debtor") proposes this Chapter 13 Plan:

   1. Submission of Income. Debtor submits to the supervision and control of the Chapter 13 Trustee ("Trustee") all or
      such portion of future earnings or other future income of Debtor as is necessary for the execution of this Plan.

   2. Plan Payments and Length of Plan. Debtor will pay the sum of         $250.00       per month to Trustee by
      Payroll Deduction(s) or by     Direct Payment(s) for the applicable commitment period of             36          months,
      unless all allowed claims in every class, other than long-term claims, are paid in full in a shorter period of time. The
      term of this Plan shall not exceed sixty (60) months. See 11 U.S.C. §§ 1325(b)(1)(B) and 1325(b)(4). Each pre-
      confirmation plan payment shall be reduced by any pre-confirmation adequate protection payment(s) made
      pursuant to Plan paragraph 6(A)(i) and § 1326(a)(1)(C).

            The following alternative provision will apply if selected:
                IF CHECKED, Plan payments will increase by                          on
            upon completion or termination of                                                                             .



   3. Claims Generally. The amounts listed for claims in this Plan are based upon Debtor's best estimate and
      belief. An allowed proof of claim will be controlling, unless the Court orders otherwise. Objections to claims may be
      filed before or after confirmation.

   4. Administrative Claims Trustee will pay in full allowed administrative claims and expenses pursuant to §507(a)(2) as
      set forth below, unless the holder of such claim or expense has agreed to a different treatment of its claim.


     (A). Trustee's Fees. The Trustee shall receive a statutory fee in an amount established by the Attorney General and
the United States Trustee.
      (B). Debtor's Attorney's Fees. Debtor and Debtor's attorney have agreed to a base attorney fee in the amount of
    $4,250.00       for the services identified in the Rule 2016(b) disclosure statement filed in this case. The amount of
       $0.00        was paid prior to the filing of the case. The Trustee shall disburse the unpaid amount of the fee,
    $4,250.00       as allowed under General Order 18-2015, as follows: (1) Upon the first disbursement following
confirmation of a Plan, the Trustee shall disburse to Debtor's attorney from the funds available and paid into the office of
the Trustee by Debtor or on Debtor's behalf, up to         $4,250.00      after the payment of any payments under 11 U.S.C. §
1326(a)(1)(B) or (C) and administrative fees. The remaining balance of the fees shall be paid up to          $150.00        per
month until the fees are paid in full; (2) If the case converted prior to confirmation of the plan, Debtor directs the Trustee to
pay fees to Debtor's attorney from the funds available of        $2,000.00       (amount not to exceed $2,000.00); (3) If the
case is dismissed prior to confirmation of the plan fees for Debtor's attorney of       $2,000.00       as set forth on the
2016(b) disclosure statement (amount not to exceed $2,000.00) are allowed pursuant to General Order 18-2015 and shall
be paid by the Trustee from the funds available without a fee application. Debtor's attorney may file a fee application for
fees sought over $2,000.00 within 10 days of the Order of Dismissal; (4) If the case is converted after confirmation of the
plan, Debtor directs the Trustee to pay to Debtor's attorney from the funds available, any allowed fees which are unpaid;
and (5) If the case is dismissed after confirmation of the plan, Trustee shall pay to Debtor's attorney from the funds
available, any allowed fees which are unpaid.
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Debtor and Debtor (s) attorney have further agreed that Debtor(s) attorney may be paid for “non base services” as they are
performed on an as needed basis. These “non base services”, and the agreed fee for each, are identified in Paragraph 6
of the Rule 2016(b) disclosure statement in this case. Upon completion of a non base service, Debtor’s attorney may file
an application with the court, serving all parties-in-interest with notice of the application and providing an opportunity to
be heard on the matter. If the non base fee is approved by the court, then the fee shall be added to the balance of the
unpaid base fee in this case and paid in accordance with this paragraph. If the base fee has been paid in full, then the
fee shall be paid up to $150.00 per month, and the distribution to creditors shall be reduced, pro rata, by the amount until
the additional fee is pain is full.
5.   Priority Claims.
          (A) Domestic Support Obligations.
              None. If none, skip to Plan paragraph 5(B).

               (i). Debtor is required to pay all post-petition domestic support obligations directly to the holder of the
               claim.


               (ii). The name(s) and address(es) of the holder of any domestic support obligation are as follows. See 11
               U.S.C. §§ 101(14A) and 1302(b)(6).




               (iii). Anticipated Domestic Support Obligation Arrearage Claims


                    (a). Unless otherwise specified in this Plan, priority claims under 11 U.S.C. § 507(a)(1) will be paid in
                    full pursuant to 11 U.S.C. § 1322(a)(2). These claims will be paid at the same time as claims secured
                    by personal property, arrearage claims secured by real property, and arrearage claims for assumed
                    leases or executory contracts.
                        None; or


                    (a)                                          (b)                                      (c)
                Creditor                                Estimated arrearage                       Projected monthly
            (Name and Address)                                 claim                              arrearage payment
                 -NONE-

                    (b). Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support obligation claims are
                    assigned to, owed to, or recoverable by a governmental unit.

                        None; or

                    Claimant and proposed treatment:


        (B). Other Priority Claims (e.g., tax claims). These priority claims will be paid in full, but will not be funded until
        after all secured claims, lease arrearage claims, and domestic support claims are paid in full.
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                                          (a)                                                            (b)
                                       Creditor                                                    Estimated claim
                               Internal Revenue Service                                                 $0.00
                            Georgia Department Of Revenue                                              $300.00


6. Secured Claims.
(A). Claims Secured by Personal Property Which Debtor Intends to Retain.

                (i). Pre-confirmation adequate protection payments. No later than 30 days after the date of the filing of
                this plan or the order for relief, whichever is earlier, the Debtor shall make the following adequate protection
                payments to creditors pursuant to § 1326(a)(1)(C). If the Debtor elects to make such adequate protection
                payments on allowed claims to the Trustee pending confirmation of the plan, the creditor shall have an
                administrative lien on such payment(s), subject to objection. If Debtor elects to make such adequate
                protection payments directly to the creditor, Debtor shall provide evidence of such payment to the Trustee,
                including the amount and date of the payment.

                Debtor shall make the following adequate protection payments:

                    directly to the creditor; or

                    to the Trustee pending confirmation of the plan.


                          (a)                                         (b)                                      (c)
                       Creditor                                    Collateral                          Adequate protection
                                                                                                        payment amount
                                                                                                            $81.00
             FAMILY SAVINGS CREDIT                             Honda Accord 2007



                (ii). Post confirmation payments. Post-confirmation payments to creditors holding claims secured by
                personal property shall be paid as set forth in subparagraphs (a) and (b). If Debtor elects to propose a
                different method of payment, such provision is set forth in subparagraph (c).

                    (a). Claims to Which § 506 Valuation is NOT Applicable. Claims listed in this subsection consist of
                    debts secured by a purchase money security interest in a vehicle for which the debt was incurred
                    within 910 days of filing the bankruptcy petition, or, if the collateral for the debt is any other thing of
                    value, the debt was incurred within 1 year of filing. See § 1325(a)(5). After confirmation of the plan, the
                    Trustee will pay to the holder of each allowed secured claim the monthly payment in column (f) based
                    upon the amount of the claim in column (d) with interest at the rate stated in column (e). Upon
                    confirmation of the plan, the interest rate shown below or as modified will be binding unless a timely
                    written objection to confirmation is filed and sustained by the Court. Payments distributed by the
                    Trustee are subject to the availability of funds.

                        None; or



        (a)                     (b)                    (c)                 (d)                 (e)                     (f)
     Creditor                Collateral             Purchase              Claim             Interest                Monthly
                                                      date               amount               rate                  payment
       N/A


                    (b). Claims to Which § 506 Valuation is Applicable. Claims listed in this subsection consist of any
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                   claims secured by personal property         Pagein4Plan
                                                       not described   of 6paragraph 6(A)(ii)(a). After confirmation of the
                   plan, the Trustee will pay to the holder of each allowed secured claim the monthly payment in column
                   (f) based upon the replacement value as stated in column (d) or the amount of the claim, whichever is
                   less, with interest at the rate stated in column (e). The portion of any allowed claim that exceeds the
                   value indicated below will be treated as an unsecured claim. Upon confirmation of the plan, the
                   valuation and interest rate shown below or as modified will be binding unless a timely written objection
                   to confirmation is filed and sustained by the Court. Payments distributed by the Trustee are subject to
                   the availability of funds.
                        None; or



          (a)                  (b)               (c)           (d)       (e)                             (f)
       Creditor             Collateral        Purchase    Replacement Interest                        Monthly
                                                date         value      rate                          payment
                                             12/1/2013      $6775.00 4.25%
 Family Savings Credit 2007 Honda Accord                                            $81.00 increasing to $231.00 in December 2019

                   (c). Other provisions.



        (B). Claims Secured by Real Property Which Debtor Intends to Retain. Debtor will make all post-petition
        mortgage payments directly to each mortgage creditor as those payments ordinarily come due. These regular
        monthly mortgage payments, which may be adjusted up or down as provided for under the loan documents, are
        due beginning the first due date after the case is filed and continuing each month thereafter, unless this Plan
        provides otherwise. Trustee may pay each allowed arrearage claim at the monthly rate indicated below until paid
        in full. Trustee will pay interest on the mortgage arrearage if the creditor requests interest, unless an objection to
        the claim is filed and an order is entered disallowing the requested interest.

         (a)                   (b)                                 (c)                                        (d)
      Creditor              Property                     Estimated pre-petition                       Projected monthly
                           description                         arrearage                              arrearage payment
      -NONE-




        (C). Surrender of Collateral. Debtor will surrender the following collateral no later than thirty (30) days from the
        filing of the petition unless specified otherwise in the Plan. Any claim filed by a secured lien holder whose
        collateral is surrendered will be treated as unsecured. Any involuntary repossession/foreclosure prior to
        confirmation of this Plan must be obtained by a filed motion and Court order, unless the automatic stay no longer
        applies under § 362(c). Upon Plan confirmation, the automatic stay will be deemed lifted for the collateral
        identified below for surrender and the creditor need not file a Motion to Lift the Stay in order to repossess,
        foreclose upon or sell the collateral. Nothing herein is intended to lift any applicable co-Debtor stay, or to
        abrogate Debtor's state law contract rights.

                 (a)                                                               (b)
              Creditor                                               Collateral to be surrendered
             -NONE-
7. Unsecured Claims. Debtor estimates that the total of general unsecured debt not separately classified in Plan
    paragraph 10
is $126,429.00 . After all other classes have been paid, Trustee will pay to the creditors with allowed general
unsecured claims a pro rata share of        $0.00       or           0       % , whichever is greater. Trustee is authorized
to increase this dollar amount or percentage, if necessary, in order to comply with the applicable commitment period
stated in paragraph 2 of this Plan.
8. Executory Contracts and Unexpired Leases. The following executory contracts and unexpired leases are assumed,
and payments due after the filing of the case will be paid directly by Debtor, not through Trustee, as set forth below in
column (c).
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Debtor proposes to cure any default by paying the               Page
                                                  arrearage on the     5 of 6
                                                                   assumed  leases or contracts in the amounts projected
in column (d) at the same time that payments are made to secured creditors. All other executory contracts and unexpired
leases of personal property are rejected upon conclusion of the confirmation hearing.
    None; or



               (a)                               (b)                             (c)                            (d)
            Creditor                     Nature of lease or             Payment to be paid              Projected arrearage
                                         executory contract             directly by Debtor               monthly payment
                                                                                                         through plan (for
                                                                                                           informational
                                                                                                             purposes)
       Flamingo Properties               Residential Lease                   $490.00                           $0.00


9. Property of the Estate. Property of the estate shall not vest in Debtor until the earlier of Debtor's discharge or
    dismissal of
this case, unless the Court orders otherwise.


10. Other Provisions:

    (A). Special classes of unsecured claims.



    (B). Other direct payments to creditor.



    (C). Other allowed secured claims:
    A proof of claim which is filed and allowed as a secured claim, but is not treated specifically under the plan, shall be
    funded with 0% interest as funds become available after satisfaction of the allowed secured claims which have been
    treated by the plan and prior to payment of allowed non- administrative priority claims (except domestic support
    obligation claims as set forth in paragraph 5(A), above) and general unsecured claims. Notwithstanding the foregoing,
    the Debtor or any other party in interest may object to the allowance of the claim.



    (D). Claims subject to lien avoidance pursuant to 11 U.S.C. §522(f):
    The allowed secured claim of each creditor listed below shall not be funded until all allowed, secured claims which
    are being treated by the plan are satisfied. If an order is entered avoiding the creditor's lien, that creditor's claim shall
    be treated as a general, unsecured claim to the extent it is not otherwise secured by property of the estate and
    treated by the plan. To the extent that the creditor's lien is not avoided and is not otherwise treated by the plan, the
    secured claim shall be funded as set forth in the above paragraph. This paragraph shall apply to the following
    creditors:




    (E). Other Provisions:
    Any federal tax refunds the debtor is entitled to receive during the applicable commitment period shall be paid into
    the Debtor's Chapter 13 case. Further, the debtor authorizes and instructs the Internal Revenue Service to send any
    refund for said years to the Debtor's Chapter 13 Trustee.Upon written request to the Chapter 13 Trustee, the Debtor
    may retain up to $2000.00 of a tax refund without a motion being filed.
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Date to:                     8/9/2017                                     /s/ Shari Arnold
                                                             Signature of Debtor
              /s/ Howie Slomka 652875
Debtor's Attorney                                            Signature of Joint Debtor
